 Case 12-40944          Doc 357   Filed 06/19/13 Entered 06/19/13 14:09:05            Desc Main
                                   Document     Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                 (CENTRAL DIVISION)

In re:

SOUTHERN SKY AIR & TOURS, LLC                            Chapter 7
d/b/a DIRECT AIR,                                        Case No. 12-40944-MSH

               Debtor.


             MOTION OF MERRICK BANK CORPORATION TO APPEAR
         TELEPHONICALLY AT THE HEARING SCHEDULED FOR JUNE 25, 2013


To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

               Timothy T. Brock, as a member of Satterlee Stephens Burke & Burke, LLP

(“Satterlee”), on behalf of Merrick Bank Corporation (“Merrick”), respectfully states and prays

as follows:

         1.    On May 21, 2013, Merrick filed a motion (the “Merrick 2004 Motion”) requesting

that the Court grant it the authority to pursue discovery pursuant to Federal Rule of Bankruptcy

Procedure 2004 to the same extent and of the same parties that the Court has granted such

authority to Joseph H. Baldiga, the chapter 7 trustee (the “Trustee”) for the bankruptcy estate of

the Debtor in the above-captioned bankruptcy case [ECF No. 327].

         2.    The Trustee has assented to the relief sought by Merrick in the Merrick 2004

Motion [see ECF No. 327 at ¶ 39].

         3.    Valley National Bank (“VNB”) has made certain objections in its “Response of

Valley National Bank” to the Motion filed on June 4, 2013 [ECF No. 347].

         4.    The hearing on the Merrick 2004 Motion is scheduled for June 25, 2013 at 10:00

a.m. (the “Hearing”).



1682520_3
 Case 12-40944       Doc 357     Filed 06/19/13 Entered 06/19/13 14:09:05            Desc Main
                                  Document     Page 2 of 3



        5.     Merrick is currently negotiating with VNB in an effort to resolve VNB’s

objections to the Motion prior to the scheduled Hearing.

        6.     Assuming that the Hearing would be held as presently scheduled, a personal

appearance on Merrick’s behalf would seem potentially unnecessary, especially given the fact

that Satterlee’s office is located in New York, N.Y.

        7.     On behalf of both myself and my law partner at Satterlee, Daniel G. Gurfein,

Esq., I therefore respectfully request permission to appear by telephone at the Hearing.

        WHEREFORE, Timothy T. Brock and Daniel G. Gurfein respectfully request that the

Court enter an order allowing them to appear telephonically at the hearing scheduled for June 25,

2013 at 10:00 a.m. and grant such further relief as deemed necessary.



                                                       Respectfully submitted,

                                                       MERRICK BANK CORPORATION

                                                       By its counsel,



                                                        /s Timothy T. Brock
                                                       Timothy T. Brock
                                                       Daniel G. Gurfein
                                                       Satterlee Stephens Burke & Burke LLP
                                                       230 Park Avenue, 11th Floor
                                                       New York, NY 10169
                                                       Phone: (212) 818-9200
                                                       Fax: (212) 818-9607
                                                       Email: tbrock@ssbb.com
                                                       Email: dgurfein@ssbb.com

Dated: June 19, 2013




1682520_3
 Case 12-40944       Doc 357     Filed 06/19/13 Entered 06/19/13 14:09:05           Desc Main
                                  Document     Page 3 of 3



                                     Certificate of Service

        I hereby certify that a copy of the foregoing document has been served by electronic mail

on all parties on the Court’s ECF system this 19th day of June 2013.


                                                              ____/s Timothy T. Brock________
                                                              Timothy T. Brock




1682520_3
